                   Case 4:05-cr-00109-BSM Document 769 Filed 02/27/13 Page 1 of 2
A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1



                                    UNITED STATES DISTRICT COURT                                                                                       FE3 2 '? 2013
                                                      Eastern District of Arkansas                                                   JAMES
                                                                                                           By:_-+::~~~f--::¥~,..,..,..,.
         UNITED STATES OF AMERICA                                                   Judgment in a Criminal Case
                             v.                                                     (For Revocation of Probation or Supervised Release)


        ROBERT PHILLIP BREVARD, III                                                 Case No.                  4:05CR00109-01 JLH
                                                                                    USMNo.                     19857-009
                                                                                                                         Denese R. Fletcher
                                                                                                                          Defendant's Attorney
THE DEFENDANT:
X   admitted guilt to violation of condition(s)        . . ;:G;;.;e;.:;n'""e.:.;:ra::;.l,'-'S""t""a:.:.nd""a:::r.:d_ _ _ _ _ of the term of supervision.
0   was found in violation of condition(s)            - - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                                                             Violation Ended
General                      Violation of federal, state, or local law                                                                       May 5, 2011
General                      Illegal possession of a controlled substance                                                                    May 5, 2011
Standard                     Failure to notify probation officer of law enforcement contact                                                  May 5, 2011




       The defendant is sentenced as provided in pages 2 through _ ___.::2::......_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 7994

Defendant's Year ofBirth:         1974

City and State of Defendant's Residence:
                 Little Rock, Arkansas
                                                                                               J. l.eon Holmes, United States Djstrjct Judge
                                                                                                                        Name and Title of Judge

                                                                                                                         February 27, 2013
                                                                                                                                      Date
                   Case 4:05-cr-00109-BSM Document 769 Filed 02/27/13 Page 2 of 2
AO 245D    (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet 2- Imprisonment

                                                                                              Judgment- Page     2     of     2
DEFENDANT:                  ROBERT PHILLIP BREVARD, III
CASE NUMBER:                4:05CR00109-0l JLH


                                                              IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of:

24 MONTHS to run concurrent with Arkansas Department of Correction term imposed in case
no. CR2011-2277; with no term of supervised release to follow

   D The court makes the following recommendations to the Bureau of Prisons:




   D   The defendant is remanded to the custody of the United States Marshal.

   D   The defendant shall surrender to the United States Marshal for this district:
       D    at    --------- D                         a.m.      D     p.m.    on
       D    as notified by the United States Marshal.

   D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       D    before 2 p.m. on
       D    as notified by the United States Marshal.
       D    as notified by the Probation or Pretrial Services Office.

                                                                      RETURN

I have executed this judgment as follows:




       Defendant delivered on                                                      to

at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL



                                                                             By ----------------~~~~~~~------­
                                                                                        DEPUTY UNITED STATES MARSHAL
